20-23280-shl        Doc 281       Filed 07/07/22 Entered 07/07/22 12:12:14                    Main Document
                                               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re                                                 Case No. 20-23280 (RDD)
        85 FLATBUSH RHO MEZZ LLC, et al.,1                Confirmed Chapter 11

                           Debtors

                                                          (Jointly Administered)

         NOTICE OF ENTRY OF ORDER CONFIRMING SECOND AMENDED
       CHAPTER 11 PLAN FILED BY CREDITOR TH HOLDCO LLC RELATED TO
          85 FLATBUSH RHO MEZZ, LLC, 85 FLATBUSH RHO HOTEL LLC,
                   AND 85 FLATBUSH RHO RESIDENTIAL LLC


         PLEASE TAKE NOTICE that on July 6, 2022, the United States Bankruptcy Court for

the Southern District of New York signed the Findings of Fact, Conclusions of Law, and Order

Confirming TH Holdco’s Second Amended Chapter 11 Plan (the “Plan”) and Fixing Deadlines for

Filing Certain Claims (the “Confirmation Order”), which directed the mailing of a notice of entry

of the Confirmation Order.

         PLEASE TAKE FURTHER NOTICE that proofs of claim based on a rejection of an

executory contract or unexpired lease must be filed in accordance with the provisions of Section

9.3 of the Plan.

         PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order contain

injunctive provisions which may be applicable to you.

         PLEASE TAKE FURTHER NOTICE that the Plan and Confirmation Order may be

viewed at the Bankruptcy Court’s Internet site at http://www.nysb.uscourts.gov.



1
 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
number, include: 85 Flatbush RHO Mezz LLC (6184) (the “Mezz Debtor”); 85 Flatbush RHO Hotel LLC (5027) (the
“Hotel Debtor”); and 85 Flatbush RHO Residential LLC (2261) and (the “Residential Debtor”, and together with the
Mezz Debtor and the Hotel Debtor, the “Debtors”).


US_ACTIVE\121805603\V-1
20-23280-shl      Doc 281   Filed 07/07/22 Entered 07/07/22 12:12:14      Main Document
                                         Pg 2 of 2



Dated: New York, New York
       July 7, 2022

                                               DENTONS US LLP
                                               Lauren Macksoud
                                               Sarah M. Schrag
                                               1221 Avenue of the Americas
                                               New York, NY 10020
                                               Telephone: (212) 768-6700
                                               Fax: (212) 768-6800
                                               Email: lauren.macksoud@dentons.com
                                                      sarah.schrag@dentons.com

                                               -and-

                                               Robert Richards (admitted pro hac vice)
                                               DENTONS US LLP
                                               233 S. Wacker Drive
                                               Suite 5900
                                               Chicago, IL 60606
                                               Telephone: (312) 876-8000
                                               Facsimile: (312) 876-7934
                                               Email: robert.richards@dentons.com

                                               Counsel to TH Holdco LLC




US_ACTIVE\121805603\V-1
